Case 1:21-cv-01670-JEB Document 35-2 Filed 02/10/23 Page 1 of 8




                           Exhibit A
         Case 1:21-cv-01670-JEB Document 35-2 Filed 02/10/23 Page 2 of 8




                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


                                                  )
SARAH KATHERINE NAUMES,                           )
       Plaintiff,                                 )
                                                  )
       v.                                         )    Civil Action No. 21-1670 (JEB)
                                                  )
DEPARTMENT OF THE ARMY,                           )
       Defendant.                                 )



                FOURTH DECLARATION OF SARAH KATHERINE NAUMES

I, Sarah Katherine Naumes, do declare, subject to the penalties of perjury, that the following

statements are true and correct to the best of my knowledge and belief.

   1. I am the Plaintiff in the above-entitled civil action and I am prepared to testify in open

       court or in a deposition to the truth of all matters referred to in this Declaration.

   2. I make this declaration in support of Plaintiff’s motion for reasonable attorney fees and

       costs.

   3. I have reviewed the Declarations I submitted to this Court, dated November 21, 2021,

       dated April 4, 2022, and dated October 10, 2022. All of the statements in those

       previously submitted Declarations are true and correct.

   4. I have reviewed the receipts for the filing fee and the postage costs I incurred during the

       course of this judicial review. The receipts are attached to the Declaration of C. Peter

       Sorenson as Exhibits G and H, respectively. I advanced these costs, they are reasonable in
    Case 1:21-cv-01670-JEB Document 35-2 Filed 02/10/23 Page 3 of 8




   all respects and these costs should be awarded by the Court, as I have substantially

   prevailed in this judicial review.

5. My attorney requested that Defendant narrow the issues in dispute. See Exhibit B to the

   Declaration of C. Peter Sorenson. Defendant refused to narrow, even to the point of not

   agreeing to the costs of filing the case. Defendant continues its practice of delay, forcing

   the Court to order them to do what they should do.

6. This FOIA request has illustrated that the Global Assessment Tool is based heavily on

   pre-existing psychological scales drafted initially for other purposes and reworked for the

   military context. In an analysis of the Global Assessment Tool, Christopher Peterson,

   Nansook Park, and Carl Castro write, “History teaches us that assessment developed in

   the military does not just stay in the military (2011: 16).” Just as these scales were drawn

   from elsewhere to create a tool for the Army to use to assess resilience, the Global

   Assessment Tool informs cultural perceptions of what it means to be a resilient member

   of society. The Global Assessment Tool is not simply restricted to use in the military. The

   scales, though currently partitioned, are used in schools, workplaces, and trauma centers.

   There is a public need to be able to validate the Global Assessment Tool not only for the

   sake of veteran wellbeing, but for civilian populations as well.

7. There has been public interest in the Global Assessment Tool since its development

   because the experiences of traumatized soldiers do not stay within the military. These

   specific records offer a public understanding of how the Army perceives resilience and,

   thus, how it is treating war-related trauma and injury. These are not issues that are

   restricted to a military setting, which is precisely why the Global Assessment Tool was

   developed in the first place. The Global Assessment Tool became an Army solution to
     Case 1:21-cv-01670-JEB Document 35-2 Filed 02/10/23 Page 4 of 8




   PTSD and veteran suicide, which were again in the public eye during the wars in Iraq and

   Afghanistan. If there is a tool that purports to enhance the resilience of soldiers,

   potentially decreasing negative outcomes, would the United States not want to distribute

   that tool to families impacted by critical issues and conditions such as PTSD? Moreover,

   there is public interest because this same tool is likely (if this has not already occurred) to

   be repurposed for the civilian population, which also experiences trauma in the form of

   physical, sexual, emotional abuse, and other forms of violence. The public deserves to

   know whether the Global Assessment Tool works and whether this publicly funded

   instrument does in fact increase resilience.

8. To be clear, I have no commercial interest in the information that was acquired as a result

   of the work I did to bring the Army’s records to light. As has been previously stated to

   the Court, my initial primary reason for wanting the records at issue in the case was to

   help with the research I am doing for my Ph.D. dissertation. I plan on using the publicly

   available material on the Global Assessment Tool in my dissertation and the dissertation

   will be publicly available to other academics, the public, and policymakers. I am happy to

   share these records with fellow academics to encourage rigor and reproducibility, which

   are hallmarks of scientific inquiry.

9. I have not paid any money, for fees, to Sorenson Law Office or anyone else to represent

   me in this action. Without their help and the significant effort they have made and are

   continuing to make I would not have been able to get the important records involved in

   this case, which has always been directed toward public dissemination within the

   parameters of institutionally-approved research and reporting. I did not have and do not

   currently have the financial resources to retain and pay lawyers to do the specialized
     Case 1:21-cv-01670-JEB Document 35-2 Filed 02/10/23 Page 5 of 8




   work of helping me obtain records under FOIA from one of the largest armies in the

   world. The timeline of my efforts to obtain this material is outlined in my first

   Declaration (9-1) and shows clear delays and a complete lack of records produced by the

   Department of the Army prior to retaining lawyers.

10. It was not until I filed suit in federal court that the Department of the Army released any

   records compliant with my request. The first released documents were sent to me on

   August 6, 2021, clearly prompted by the impending Minute Order due to this Court.

   What was produced in the initial release included a number of redactions and completely

   missed the ArmyFit recommendations. These redactions were underscored by a history of

   Department of the Army representatives indicating a lack of recordkeeping about who (if

   anyone) held copyright over the scales comprising the Global Assessment Tool. This

   release did not make clear that those recordkeeping issues had been resolved. After

   motions by my lawyers and upon prompting by the court on February 28, 2022, the

   Department of the Army released the ArmyFit recommendations on March 18, 2022.

   This order was framed by the court such that: “Defendant shall search for and release the

   pages offering Spiritual, Family Fitness, Social Fitness, and Physical Fitness Dimension

   Recommendations.” On April 14, 2022, all but three of the scales withheld in the original

   release were supplied to me when the purported copyright holders were approached. This

   order was framed by the court on February 28, 2022 such that: “Defendant shall contact

   the copyright holders for the survey questions in the remaining non-public sources and

   inform the Court as to their position on release by March 14, 2022; and Defendant shall

   provide supplemental briefing as to how the GAT survey questions are assembled from

   the underlying sources by March 14, 2022.” To be clear, I had not received a single
    Case 1:21-cv-01670-JEB Document 35-2 Filed 02/10/23 Page 6 of 8




   document compliant with my request, which was filed on February 28, 2019, prior to

   taking legal action on June 22, 2021. Further, aside from the initial release on August 6,

   2021, all other releases were directly prompted by litigation.

11. The public interest in the Global Assessment Tool is noted by Dr. Kenneth MacLeish,

   Associate Professor of Medicine, Health & Society and of Anthropology at Vanderbilt

   University, in his Declaration in this case (28-3; pp.15) where he writes, “The GAT has

   been deployed at tremendous scale to address high-stakes problems of mental health.

   Massive resources have been expended on CSF2 and other military mental and

   behavioral health programs: the initial program was produced via a $31 million no-bid

   contract with University of Pennsylvania’s Positive Psychology Center, and the program

   may have cost up to $500 million in the years since (Defraia 2019; Singal 2021). Yet

   questions about its effectiveness and implications remain. In this context, additional

   scrutiny and research of CSF2 and the GAT, including the very sort pursued by Ms.

   Naumes, are important and of significant scholarly and public value.” Dr. David Kieran,

   the Colonel Richard R. Hallock Distinguished Chair in Military History and Associate

   Professor of History at Columbus State University, further illustrates the public value of

   release of these documents in his Declaration in this case (28-5; pp. 15) when he writes,

   “Research into Army resiliency training such as Ms. Naumes is conducting is not simply

   a matter of academic inquiry; it is also one of public health in which every American

   should be invested. As USA Today reported on March 22, 2022, ‘The Pentagon's latest

   annual report on suicide from 2020 found that for active-duty troops, the rate of suicide

   increased from 20.3 per 100,000 in 2015 to 28.7 per 100,000 in 2020.’ That the

   active-duty suicide rate has continued to rise despite the Army’s considerable investment
     Case 1:21-cv-01670-JEB Document 35-2 Filed 02/10/23 Page 7 of 8




   in resiliency raises urgent questions that Ms. Naumes’ study can help answer.” While this

   case concluded with three scales still withheld because of copyright assertions, there

   remains enduring public interest in this and other publicly funded tools utilized to

   enhance veteran mental health and well-being. The more public these tools are, the better

   able the United States is to both research and support public health.

12. The Department of the Army changed their position on withholding records pertaining to

   the Global Assessment Tool multiple times in the course of this case. First, on August 6,

   2021, the Department of the Army had a unilateral change in position in their previous

   complete withholding of these records. On March 18, 2022, the Department of the Army

   voluntarily supplied the ArmyFit recommendations. On April 14, 2022, the Department

   of the Army voluntarily supplied all but three remaining scales of the Global Assessment

   Tool. After that point, there were points when the Department of the Army indicated a

   willingness to supply the remaining three scales.

13. One final matter for the Court: I listened to the hearing before Judge James Boasberg on

   December 7, 2022. In that hearing, Mr. Haberland, counsel for the Department of the

   Army, expressed that the Army had not released the version of the Family GAT that I

   accessed online. His statement contradicts information on this website:

   https://omb.report/icr/201901-0702-003/doc/92795801. This website illustrates that the

   Family GAT was released to the Office of Management and Budget by the Department of

   the Army. The information was, apparently, released by the Office of People Analytics,

   Department of the Army to the Office of Management and Budget as a “public

   collection” in 2019.
        Case 1:21-cv-01670-JEB Document 35-2 Filed 02/10/23 Page 8 of 8




   14. In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of

      the United States ofAmerica that the foregoing is true and correct.


DATED this 9th day of February, 2023 at Merced, CA.

/s/ Sarah Katherine Naumes
Sarah Katherine Naumes
